      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 1 of 78




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Lucille Anderson, et al.,

                       Plaintiffs,     Case No. 1:20-cv-03263

v.                                     Michael L. Brown
                                       United States District Judge
Brad Raffensperger, et al.,

                       Defendants.

________________________________/

                            OPINION & ORDER

     Plaintiffs (voters and political organizations) filed a complaint and

motion for preliminary injunction asking this Court to step into Georgia’s

November 2020 Presidential Election to dictate how various counties

equip, staff, and operate their polling locations, how they train poll

workers, and how they function on Election Day. (Dkts. 1; 92.) They say

all of this is necessary because these counties (and really all of Georgia)

have “faced some of the longest average wait times to vote in the entire

county, often waiting hours to vote, with many deterred from voting and

disenfranchised.” (Dkt. 1 ¶ 3.) They claim these problems reached a

crescendo in the June 2020 Primary when “Georgia’s election system
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 2 of 78




experienced a complete meltdown.” (Dkt. 92-1 at 1.) Finally arguing

“what’s past is prologue,” Plaintiffs say “nothing will change without

judicial compulsion,” guaranteeing lines that threaten to disenfranchise

voters in the November 2020 Election. (Dkts. 92-1 at 2; 159 at 10.)1

Plaintiffs’ motion for preliminary injunction lists the steps it asks the

Court to take to manage the November Election. Defendants move to

dismiss for lack of subject matter jurisdiction or, alternatively, for failure

to state a claim. (Dkts. 105; 106.) The Court grants Defendants’ motions

to dismiss, denies Plaintiffs’ preliminary injunction motion, and

dismisses this case for lack of subject matter jurisdiction.

I.   Background

     Plaintiffs are three individuals (Lucille Anderson, Sara Alami, and

Gianella Contreras Chavez) and two political organizations (DSCC and

Democratic Party of Georgia, Inc.).       Plaintiffs Anderson, Alami, and

Chavez (together, “Individual Plaintiffs”) are registered voters in Fulton

County. (Dkts. 1 ¶¶ 12–14; 93-30 ¶¶ 2–3; 93-31 ¶¶ 2–3; 93-32 ¶ 2.) They


1Plaintiffs quote The Tempest to suggest what has happened before will
happen again, that is, the past will repeat itself. Shakespeare may have
had a different meaning: that what has happened in the past sets the
stage for what is to come, including the opportunity for either greatness
or failure.

                                      2
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 3 of 78




each waited in long lines to vote in the June 2020 Primary. (Dkts. 1

¶¶ 12–14; 93-30 ¶¶ 4–7; 93-31 ¶¶ 5–6; 93-32 ¶¶ 3–7.)2 Plaintiff Anderson

went to her polling location on her way to work but, finding long lines,

could not vote. She returned that afternoon, waited in line more than an

hour, and went home because she feared she might “pass out” from the

heat. She returned about an hour later, but left without voting when she

discovered the line was even longer than before. She planned to return

at 9:00 p.m. but was too “exhausted from a full day of work and waiting

to vote in the Georgia heat” to do so. (Dkts. 1 ¶ 12; 93-30 ¶¶ 4–7.)

Plaintiff Alami arrived at her polling location 30 minutes before it opened

but still waited in line for 6 hours before voting. (Dkts. 1 ¶ 13; 93-31

¶¶ 5–6.) Plaintiff Chavez waited in line for more than 8 hours, before

finally voting at 1:00 a.m. (Dkts. 1 ¶ 14; 93-32 ¶¶ 3–7.) Each Individual

Plaintiff plans to vote in the November 2020 General Election but worries

she will have to wait in long lines in order to do so. (Dkts. 1 ¶¶ 12–14;

93-30 ¶ 9; 93-31 ¶ 8; 93-32 ¶ 8.)




2Although Plaintiff Chavez now resides in Fulton County, she lived and
voted in Cobb County during the June 2020 Primary. (Dkts. 1 ¶ 14; 93-32
¶ 2.)

                                    3
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 4 of 78




     Plaintiff DSCC is the national senatorial committee of the

Democratic Party. (Dkts. 1 ¶ 15; 93-63 ¶ 3.) Its mission is to elect

candidates of the Democratic Party to the U.S. Senate, including from

Georgia. (Id.) Plaintiff Democratic Party of Georgia, Inc. (“DPG”) is a

state committee responsible for the day-to-day operation of the

Democratic Party in Georgia. (Dkt. 1 ¶ 16); 52 U.S.C. § 30101(15). Its

mission is to elect Democratic Party candidates across the state. (Dkts.

1 ¶ 16; 93-60 ¶ 2.) Plaintiffs DSCC and DPG (together, “Organizational

Plaintiffs”) claim long voting lines harm their missions and require them

to divert resources as a result. (Dkts. 1 ¶¶ 15–16; 93-60 ¶¶ 17–19; 93-63

¶¶ 10–11.)

     Defendants are Georgia state and county officials sued in their

official capacities. The state Defendants are the Georgia Secretary of

State and members of the Georgia State Election Board (together,

“State Defendants”).   The county Defendants are members of nine

County Boards of Registration and Elections (together, “County

Defendants”). Those boards are in Fulton, DeKalb, Cobb, Gwinnett,

Chatham, Clayton, Henry, Douglas, and Macon-Bibb Counties (together,

“Nine Counties”).



                                    4
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 5 of 78




      Plaintiffs claim Defendants have repeatedly caused long voting

lines in the Nine Counties by failing to provide (1) enough polling

locations, (2) enough voting equipment, (3) enough poll workers,

(4) adequate training to poll workers, (5) enough technicians to address

equipment malfunctions and other technical issues, (6) enough time to

set up polling locations, and (7) enough backup paper pollbooks and

emergency paper ballots in case voting equipment breaks down. (Dkt. 1

¶¶ 4, 20; id. at 79.) Plaintiffs claim these failures unduly burden the

right to vote in violation of the First and Fourteenth Amendments

(Count 1); result in “extraordinary voting restrictions that render the

Voting System fundamentally unfair” in violation of the substantive

component of the Due Process Clause (Count 2); and “place[] widely

different burdens on voters across the State . . . . depending on the

counties in which they live,” in violation of the Equal Protection Clause

(Count 3).    (Id. ¶¶ 197–214.)   The complaint seeks declaratory and

injunctive relief. (Id. at 79.)

      In September 2020, Plaintiffs moved for a preliminary injunction

asking the Court to order Defendants to take the following actions for the

November 2020 Election:



                                    5
Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 6 of 78




(1) Defendants must use a queue formula submitted by Plaintiffs’
   expert to “allocate voting machines, poll pads, scanners, and
   technicians in a way reasonably calculated to minimize wait
   times” at each polling location within the Nine Counties. (Dkt.
   119-3 at 4–6.)

(2) Defendants must supply each polling location within the Nine
   Counties with (a) “emergency paper ballots equal to or exceeding
   40% of the number of registered voters assigned to a polling
   place”; (b) “sufficient paper pollbook backups updated to show
   who has voted through Friday, October 30, 2020, in the event of
   electronic poll book malfunction”; and (c) “sufficient secure ballot
   boxes to hold emergency paper ballots in the event of scanner
   malfunction.” (Id. at 6–7.)

(3) State Defendants must “enact a policy requiring and issue
   guidance to all county election officials instructing that poll
   workers utilize the emergency backup supplies whenever the
   last voter in line is expected to or does in fact wait 30 minutes or
   more to cast a ballot.” (Id. at 7.)

(4) Defendants must “enact a policy requiring poll workers to
   consistently monitor and record wait times every 30 minutes at
   polling places.” (Id. at 7–8.)

(5) Defendants must “ensure that poll workers at polling locations
   within [the Nine Counties] are adequately trained to operate all
   components of the voting system . . . . [and] to address common
   equipment failure issues.” (Id. at 8.)

(6) Defendants must ensure, at the Secretary of State’s expense,
   that there are “sufficient technicians available for deployment at
   each polling place within [the Nine Counties] on less than 30
   minutes notice.” (Id. at 9.)

(7) The Secretary of State must “allocate and train at least one
   technician for each 10 polling locations within a county.” (Id.)



                               6
        Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 7 of 78




        (8) Defendants must “enact policies requiring that the functionality
           of polling equipment at each polling location be adequately
           tested at each polling location within a reasonable time before
           the location opens.” (Id.)

Plaintiffs say these actions are required to avoid long voting lines at the

November 2020 Election because Defendants will otherwise make the

same mistakes that have caused long lines in the past. (See, e.g., Dkt. 1

¶¶ 6, 208.) Defendants moved to dismiss in September 2020. They say

the Court lacks subject matter jurisdiction for several reasons, including

that Plaintiffs do not have standing to pursue their claims. They also

seek dismissal for failure to state a claim.

        Plaintiffs sought no discovery and, in early October 2020, the Court

held a hearing on the parties’ motions. (Dkt. 124.) The Court expressed

reservations about whether Plaintiffs had presented facts sufficient to

establish the imminent injury required for standing. (See, e.g., Dkt. 159

at 5–6.) In an effort to afford Plaintiffs every opportunity to make that

showing, the Court ordered County Defendants to provide Plaintiffs with

additional information about their proposed allocation of voting

equipment and voters for the November 2020 Election. (Dkt. 159 at 123–

127.)     County Defendants have since provided Plaintiffs with that

information, as well as information about the steps they have taken


                                      7
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 8 of 78




following the June 2020 Primary to avoid the problems that plagued that

election. After Plaintiffs filed an expert affidavit predicting “long” lines

at several precincts, the Court held a second evidentiary hearing. (Dkts.

149-1; 169.) Despite this expert affidavit, the Court’s reservations about

Plaintiffs’ standing have only increased. It is now clear that Plaintiffs

lack standing to bring their claims because they have not shown they face

a certainly impending injury.

II.   Plaintiffs Lack Standing

      Plaintiffs claim they will be injured by long voting lines in the Nine

Counties during the November 2020 Election. Individual Plaintiffs say

these lines will burden their right to vote. (Dkt. 111 at 3–4.) And

Organizational Plaintiffs say the lines will require them to divert

resources to help voters (including their own members) avoid

disenfranchisement. (Id. at 8–9, 11.) Because Plaintiffs point to future

injuries that depend on the existence of long lines at the November 2020

Election, Plaintiffs must show those lines are sufficiently likely to occur

— or, in the language of the caselaw, that they are “certainly impending”




                                     8
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 9 of 78




— in order to establish standing. Plaintiffs say the lines are “all but

certain” to occur. (Dkt. 118 at 17.) The Court disagrees.3

     A.    General Standing Principles

     “Article III of the Constitution limits federal courts to adjudicating

actual ‘cases’ and ‘controversies.’”       A&M Gerber Chiropractic LLC v.

GEICO Gen. Ins. Co., 925 F.3d 1205, 1210 (11th Cir. 2019). The doctrine

of standing “constitutes the core of Article III’s case-or-controversy

requirement.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103–

04 (1998); see A&M Gerber Chiropractic, 925 F.3d at 1210 (“Perhaps the

most important of the Article III doctrines grounded in the case-or-

controversy requirement is that of standing.”).       “Standing cannot be

waived or conceded by the parties, and it may be raised (even by the court



3To the extent Organizational Plaintiffs are diverting resources because
they believe long lines are inevitable, that is insufficient to establish
standing — they must show the lines are actually likely to occur. See
Clapper v. Amnesty Int’l USA, 568 U.S. 398, 402 (2013) (“[Plaintiffs]
cannot manufacture standing by choosing to make expenditures based on
hypothetical future harm that is not certainly impending.”); City of Los
Angeles v. Lyons, 461 U.S. 95, 107 n.8 (1983) (“It is the reality of the
threat of repeated injury that is relevant to the standing inquiry, not the
plaintiff’s subjective apprehensions.”); Greater Birmingham Ministries v.
State, 161 F. Supp. 3d 1104, 1114 (N.D. Ala. 2016) (“[S]tanding based on
diverting resources to avoid the risk of hypothetical future harm is not a
sufficient injury.”).


                                       9
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 10 of 78




sua sponte) at any stage of the case.” A&M Gerber Chiropractic, 925 F.3d

at 1210. Courts “have always insisted on strict compliance with this

jurisdictional standing requirement.” Raines v. Byrd, 521 U.S. 811, 819

(1997).

      “[T]o satisfy Article III’s standing requirements, a plaintiff must

show (1) it has suffered an injury in fact that is (a) concrete and

particularized and (b) actual or imminent, not conjectural or

hypothetical; (2) the injury is fairly traceable to the challenged action of

the defendant; and (3) it is likely, as opposed to merely speculative, that

the injury will be redressed by a favorable decision.” Friends of the Earth,

Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000).

“The plaintiff bears the burden of establishing each element.” Cordoba

v. DIRECTV, LLC, 942 F.3d 1259, 1268 (11th Cir. 2019). And plaintiff

must meet that burden for “each claim against each Defendant.” Warren

Tech., Inc. v. UL LLC, 2018 WL 10550930, at *5 (S.D. Fla. Oct. 31, 2018);

see DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (“[A] plaintiff

must demonstrate standing for each claim he seeks to press.”).

     Courts “should not speculate concerning the existence of standing,

nor should [they] imagine or piece together an injury sufficient to give



                                    10
       Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 11 of 78




plaintiff standing when it has demonstrated none.” Bochese v. Town of

Ponce Inlet, 405 F.3d 964, 976 (11th Cir. 2005). In other words, “[i]t is

not enough that [plaintiff] sets forth facts from which [the court] could

imagine    an   injury   sufficient   to   satisfy   Article   III’s   standing

requirements.” Id. Instead, “plaintiff has the burden to clearly and

specifically set forth facts sufficient to satisfy Art. III standing

requirements.” Id.; see Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547

(2016) (noting that, even “at the pleading stage, the plaintiff must clearly

allege facts demonstrating each element” of standing). “If the plaintiff

fails to meet its burden, this court lacks the power to create jurisdiction

by embellishing a deficient allegation of injury.” Bochese, 405 F.3d at

976.

       “[A] motion to dismiss for lack of subject matter jurisdiction

pursuant to Fed. R. Civ. P. 12(b)(1) can be based upon either a facial or

factual challenge to the complaint.” McElmurray v. Consol. Gov’t of

Augusta-Richmond Cty., 501 F.3d 1244, 1251 (11th Cir. 2007). “A facial

attack on the complaint requires the court merely to look and see if the

plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and

the allegations in his complaint are taken as true for the purposes of the



                                      11
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 12 of 78




motion.” Id. “Factual attacks, on the other hand, challenge the existence

of subject matter jurisdiction in fact, irrespective of the pleadings, and

matters outside the pleadings, such as testimony and affidavits are

considered.” Id. Defendants lodge a factual attack here. (See, e.g., Dkts.

105-1 at 3–4, 6 (citing evidence outside the complaint and arguing

“Plaintiffs’ allegations do not enjoy the same degree of deference” because

this is “a challenge to jurisdiction in a factual 12(b)(1) motion”); 151 at 2–

6 (citing extrinsic evidence to challenge standing); 170-2 at 8–12

(acknowledging the Court can consider extrinsic evidence to determine

standing).) This means the “trial court is free to weigh the evidence and

satisfy itself as to the existence of its power to hear the case.” Makro

Capital of Am., Inc. v. UBS AG, 543 F.3d 1254, 1258 (11th Cir. 2008).4


4 The significance of the facial/factual distinction may be limited. Even
in a facial attack, courts “are obliged to consider not only the pleadings,
but to examine the record as a whole to determine whether [they] are
empowered to adjudicate the matter at hand.” Elend v. Basham, 471
F.3d 1199, 1208 (11th Cir. 2006); see Corbett v. Transp. Sec. Admin., 930
F.3d 1225, 1235 (11th Cir. 2019) (“While we typically confine our
standing analysis to the four corners of the complaint, we may look
beyond it when we have before us facts in the record.”). There is also
authority that, in a facial attack, a court is still “free to weigh the
evidence and satisfy itself as to the existence of its power to hear the
case.” Flat Creek Transportation, LLC v. Fed. Motor Carrier Safety
Admin., 923 F.3d 1295, 1299 n.1 (11th Cir. 2019) (rejecting the argument
that a facial attack precluded the court from weighing the evidence).

                                     12
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 13 of 78




     A plaintiff must, however, have “ample opportunity to present

evidence bearing on the existence of jurisdiction.” Morrison v. Allstate

Indem. Co., 228 F.3d 1255, 1273 (11th Cir. 2000). Given the eleventh

hour at which Plaintiffs filed and briefed their motions, they have

certainly had that here. The parties have submitted substantial evidence

on the issue of standing, the Court allowed Plaintiffs to obtain additional

standing information from Defendants (even though they never

requested it), and the Court has held two hearings at which the parties

were entitled to introduce evidence (including one in which Plaintiffs’

expert testified). No one has requested more discovery, another hearing,

or additional time to present evidence.

     B.      Injury in Fact

     Injury in fact is “the first and foremost of standing’s three

elements.”    Spokeo, 136 S. Ct. at 1547.        “When a plaintiff seeks

prospective relief to prevent a future injury, it must establish that the

threatened injury is certainly impending.” Indep. Party of Fla. v. Sec’y,

State of Fla., 967 F.3d 1277, 1280 (11th Cir. 2020); see Jacobson v. Fla.

Sec’y of State, --- F.3d --- 2020 WL 5289377, at *4 (11th Cir. Sept. 3, 2020)

(same); see also Clapper, 568 U.S. at 410 (“[A] threatened injury must be



                                     13
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 14 of 78




certainly impending to constitute injury in fact.”).     “[A]llegations of

possible future injury are not sufficient.” Clapper, 568 U.S. at 409. Nor

is a “realistic threat,” Summers v. Earth Island Inst., 555 U.S. 488, 499–

500 (2009), an “objectively reasonable likelihood” of harm, Clapper, 568

U.S. at 410, or “a ‘perhaps’ or ‘maybe’ chance” of injury, Bowen v. First

Family Fin. Servs., Inc., 233 F.3d 1331, 1340 (11th Cir. 2000). The

Supreme Court has said that literal certainty is not “uniformly

require[d],” and that a “substantial risk” or “substantial likelihood” of

harm may be enough “[i]n some instances.” Clapper, 568 U.S. at 414 n.5

(emphasis added); Bowen, 233 F.3d at 1340 (emphasis added).             The

required showing is ultimately “a matter of degree,” Thompson v. State

Farm Fire & Cas. Co., 2016 WL 2930958, at *3 (M.D. Ga. May 19, 2016),

and “[h]ow likely is enough is necessarily a qualitative judgment,” Fla.

State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1161 (11th

Cir. 2008).

     C.       Defendants’ Past Elections       Do    Not    Establish    a
              Certainly Impending Injury

     Plaintiffs’ prediction of long lines in November 2020 is based almost

entirely on the existence of long lines in past elections. Although “past

wrongs are evidence bearing on whether there is a real and immediate


                                   14
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 15 of 78




threat of repeated injury,” O’Shea v. Littleton, 414 U.S. 488, 496 (1974),

they are typically “insufficient alone,” Aransas Project v. Shaw, 775 F.3d

641, 648 (5th Cir. 2014); see Stanley v. Broward Cty. Sheriff, 773 F. App’x

1065, 1069 (11th Cir. 2019) (“Past exposure to illegal conduct does not in

itself show a pending case or controversy regarding injunctive relief if

unaccompanied by any continuing, present injury or real and immediate

threat of repeated injury.”). That is, courts generally “must focus on what

[defendant] has promised to do going forward,” even if defendant has a

“long and sordid history” of violations. Hoffer v. Jones, 290 F. Supp. 3d

1292, 1300–01 (N.D. Fla. 2017); see Mancha v. Immigration & Customs

Enf’t, 2007 WL 4287766, at *2 (N.D. Ga. Dec. 5, 2007) (“The focus of the

inquiry is on prospective conduct. Therefore, it follows that past exposure

to illegal conduct does not in itself show a present case or controversy

regarding injunctive relief.”). Plaintiffs’ failure to focus on the future

here does not foreclose standing as a matter of law. See Ciudadanos

Unidos De San Juan v. Hidalgo Cty. Grand Jury Comm’rs, 622 F.2d 807,

820 (5th Cir. 1980) (finding “allegations of past illegal conduct . . .

sufficient to give rise to a strong inference that the injury will be repeated

in the future”). But it does make standing harder to establish.



                                     15
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 16 of 78




           1.    Defendants’ Past Elections Were Different

     The predictive value of Georgia’s past elections is simply too limited

to tell us (with the requisite certainty) what will happen in November.

Georgia revamped its voting equipment and voting process in 2020, so

elections before then reveal little about elections today. Before 2020,

Georgia used Direct Recording Electronic voting machines that, in the

words of one court, were “unreliable and grossly outdated.” Curling v.

Raffensperger, 397 F. Supp. 3d 1334, 1403 (N.D. Ga. 2019). Georgia now

uses a three-stage voting process that involves entirely different

equipment: (1) voters check in using electronic poll pads; (2) they cast

their ballots on machines known as Ballot Marking Devices (“BMDs”);

and (3) they deposit their printed ballots through optical scanners. (Dkt.

93-62 at 10.) This new approach was introduced as part of Georgia House

Bill 316,5 which made sweeping changes to the state’s voting system more

generally. These changes dilute the link between Georgia’s past and

future elections. Indeed, Plaintiffs’ own expert declined to use pre-2020

election data “in making assessments for the 2020 General Election




5Georgia Act No. 24, Georgia House Bill 316, amending Chapter 2 of Title
21 of the Official Code of Georgia Annotated.

                                   16
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 17 of 78




because the voting machines and, as such, voting process for those

elections are different from the process that will [be] in use in the 2020

General Election.” (Dkt. 93-62 at 1 n.1.)

     That leaves the June 2020 Primary. But Plaintiffs conceded at oral

argument that, however bad that election was, it does not by itself show

that the November 2020 Election will be similarly plagued by long lines.

(See Dkt. 159 at 116.) The Court agrees. The June 2020 Primary was

unique in ways that make it an unreliable guide to future elections. It

was the first election in which Defendants used their new voting

equipment and voting process.       And it was the first election that

Defendants administered during the global COVID-19 pandemic. (See,

e.g., Dkts. 108-1 ¶ 4 (“[t]he June 9 primary was the most unique

circumstances I have ever encountered in an election” due to the “new

voting system” and the “global pandemic”); 108-2 ¶ 3 (same); 108-3 ¶ 6

(noting “unique challenges” based on “an unprecedented global

pandemic” and “newer voting equipment”).)

     There is no doubt that these two features contributed substantially

to long lines in June 2020. The introduction of new voting machines, for

example, led to problems as simple as one county discovering on the eve



                                   17
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 18 of 78




of Election Day that the new machines were so much bigger than the old

ones that the county did not have enough trucks to deliver them to polling

locations in time for opening. (Dkts. 142-1 ¶¶ 3–4; 159 at 84; see also

Dkts. 108-1 ¶ 9; 108-2 ¶ 6.) To make matters worse, the pandemic limited

the extent to which poll workers received training on these new

machines. (See, e.g., Dkts. 128-1 ¶¶ 5 (“[O]pportunities for poll worker

training were negatively impacted by COVID-19.”); 142-1 ¶ 9 (“Given the

nature of the pandemic, our training opportunities for poll workers were

extremely limited ahead of the June 9 primary.”).) Workers thus were

not always prepared to operate the machines on Election Day. Many

counties also lost “a significant number of polling places,” as well as

“hundreds of regular poll workers,” due to the pandemic. (See, e.g., Dkts.

108-1 ¶¶ 5, 11; 108-2 ¶¶ 5, 7; 108-3 ¶ 7.)

     These disruptions were not limited to the Nine Counties or, indeed,

to Georgia. “Longer than usual lines [were] reported in cities across the

country,” suggesting that the pandemic was behind many of the problems

and that this year’s primaries were far from normal across the board.

https://www.politico.com/news/2020/06/09/georgia-primary-election-

voting-309066 (cited at Dkt. 111 at 4 n.1). The November 2020 Election



                                    18
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 19 of 78




will also take place during the pandemic, of course.       But this time

Defendants have had months to prepare for it based on the experience

and lessons of a prior “pandemic election.”

           2.    Defendants Have Made              Changes      for     the
                 November 2020 Election

     Defendants have taken steps to ensure that the long lines of June

will not be repeated in November. This further reduces the predictive

value of the June 2020 Primary (and earlier elections).6

                 a)   Statewide

     Plaintiffs say certain counties have experienced long voting lines

because they lack sufficient poll workers, technicians, backup paper

pollbooks, and emergency paper ballots. Georgia officials have taken

steps to address those issues across the state:

      Poll Workers: The Secretary of State is partnering with the
       U.S. Election Assistance Commission to help counties recruit


6 Cobb County Defendants “have made significant changes to their voting
machine allocation” but do not otherwise identify specific changes for the
November 2020 Election. (Dkt. 148 at 17.) Plaintiffs admit that, based
on their own expert’s analysis, “Cobb County does not have any locations
that are predicted to have voting lines of over 30 minutes during peak
times due to voting machine allocation.” (Id.) Chatham County
Defendants also have not identified specific changes for the November
2020 Election. But there is little evidence of their plans one way or the
other, much less that they are insufficient.


                                    19
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 20 of 78




        enough poll workers. (Dkt. 110-6.) The Secretary has also
        established a website to facilitate recruitment of poll workers.
        (Dkt. 110-7.)

      Technicians: Recognizing that technical issues with voting
       equipment contributed to problems during the June 2020
       Primary, the Secretary of State has taken steps to increase
       technical assistance to the counties. Specifically, the state’s
       “vendor is increasing the number of Election Day technicians
       available, aiming to have a contracted technician available for
       each polling place.” (Dkt. 110-5 ¶ 5.) This far exceeds Plaintiffs’
       request for the state to provide one technician for every ten
       polling places. (Dkt. 119-3 at 9.)

      Backup Supplies: Voting locations will now have at least one
       backup paper pollbook and “a sufficient stock of emergency paper
       ballots” for the November 2020 Election.             Curling v.
       Raffensperger, 2020 WL 5757809, at *25 (N.D. Ga. Sept. 28,
       2020).

      Additional Measures: The state has also expanded absentee
       and early voting options across Georgia. (See, e.g., Dkts. 110-8;
       110-10; 110-15 at 6.)

                b)    Fulton County

     Plaintiffs allege that long lines have repeatedly occurred at certain

voting locations within Fulton County over the past decade. (Dkt. 1 ¶¶

63–99.) Plaintiffs say these lines were caused by insufficient voting

locations, insufficient voting equipment, poor planning, equipment

malfunctions and insufficient technical support, understaffing of voting

locations, inadequate poll worker training, problems with absentee ballot



                                   20
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 21 of 78




voting, and insufficient emergency paper ballots. (Id.) Plaintiffs claim

Fulton County Defendants will again make these mistakes in November

2020. (See, e.g., Dkt. ¶¶ 6, 98–99, 208.)7

     But the evidence shows Fulton County has taken steps to address

the problems Plaintiffs identify.    Plaintiffs allege, for example, that

Fulton County voters endured long lines in June 2020 because of

consolidated polling locations, most notably the Park Tavern location

where Futon County directed 16,000 registered voters. (Dkt. 1 ¶ 88; see

also Dkt. 93-24 at 3 (“[M]ore than 16,000 Atlantans were assigned to vote

[at Park Tavern] after two polling places backed out.”).) Fulton County

has since removed two precincts (about 12,000 voters) from that location.

(Dkt. 110-15 at 5.) And, beyond Park Tavern, it has reassigned more

than 170,000 Fulton County voters to different polling places for the

upcoming election.      (Dkt. 110-5 at 1.)     Indeed, the county has

dramatically increased its voting locations from 164 in June 2020 to 255

in November 2020. (Dkt. 147-1 ¶ 5.) Only 4 of these locations have more

than 5,000 assigned voters, meaning the county now “has fewer voters


7Plaintiffs generally allege that each Defendant will repeat their past
mistakes in the upcoming November 2020 Election. (See, e.g., Dkt. 1
¶¶ 6, 208.)

                                    21
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 22 of 78




assigned per precinct than at any time during the tenure of its current

Elections Department director.” (Id. ¶ 6.)

     A senior Fulton County election official provided other evidence the

county has “made significant changes to address [past] issues and to

facilitate a better voting experience in the November election.” (Dkt. 147-

1 ¶ 4.) Those changes include the following:

      Voting Equipment: Fulton County has “purchased millions of
       dollars of voting equipment” and now has at least one BMD for
       every 250 registered voters. (Id. ¶ 8.) It has also purchased two
       mobile voting units to help alleviate lines at any voting locations
       requiring assistance. (Id. ¶ 9.) Plaintiffs concede that Fulton
       County has “made significant changes to their voting machine
       allocation” and that this puts the county at “lower risk” of long
       lines in November. (Dkt. 148 at 17.)

      Technical Issues: Fulton County has assigned a technician to
       each polling location (to arrive by 5 a.m.), ensured each location
       can accommodate its voting equipment, deployed a new
       electronic communication system to ensure voting locations can
       obtain “additional technological help,” and has purchased items
       to reset poll pads if they experience problems. (Dkt. 147-1 ¶ 10.)

      Poll Workers: Fulton County has “revamped” its poll worker
       training to “provide more hands-on opportunities to prepare
       equipment and to understand the procedures.” (Dkt. 108-2 ¶ 8.)
       It has also hired 510 line managers and created an additional
       call center to handle election day calls from the voting locations.
       (Dkt. 147-1 ¶ 10.)

      Voting Alternatives: Fulton County has expanded early
       voting and absentee voting. It will have 30 polling locations —
       including 3 “mega sites” — open for early voting for 3 weeks


                                    22
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 23 of 78




        (including weekends). (Id. ¶ 7.) It has created an online portal
        for absentee ballot applications, almost doubled its number of
        absentee ballot drop boxes, and created a smartphone
        application to help voters with several aspects of voting.
        (Id. ¶¶ 11–13.)

      Emergency Paper Ballots: Fulton County has doubled the
       amount of emergency paper ballots at each voting location,
       exceeding the state law requirement by a factor of two. (Id. ¶ 10).

                 c)      DeKalb County

     Plaintiffs allege that long lines occurred at certain voting locations

within DeKalb County in 2008, 2016, 2018, and June 2020. (Dkt. 1

¶¶ 100–115.) Plaintiffs say these lines were caused by the consolidation

and relocation of voting locations, equipment malfunctions, insufficient

technical support, understaffing, insufficient training of poll workers,

and insufficient emergency paper ballots. (Id.)

     But a senior DeKalb County election official has presented evidence

that the county is taking steps to shorten lines for the November 2020

Election “based on lessons learned and experience from the June 2020

primary and August 2020 run-off election.” (Dkt. 143-1 ¶ 6.) Those steps

include the following:

      Voting Locations: Only 2 of DeKalb County’s 176 precincts
       now have more than 5,550 registered voters. (See Dkt. 127-1.)
       Where the pandemic has required precincts to be consolidated
       into a single voting location, the county will maintain “separate


                                   23
Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 24 of 78




  voting lines, registration, machines and poll workers for each
  precinct.” (Dkt. 143-1 ¶ 4.) The county does not expect “any
  shortage of polling places.” (Id. ¶ 5.)

 Technical Issues: In addition to the technicians provided by
  the state, the county will provide at least 20 technicians of its
  own. (Id. ¶ 15.)

 Poll Workers: DeKalb County has “increased recruitment
  efforts for poll workers” and has now secured 1,800 workers as
  well as “additional back-up poll workers” in case of cancellations.
  (Id. ¶¶ 9–10.) The county “expects there to be a sufficient
  amount of poll workers staffed at each of the polling places.” (Id.
  ¶ 8.)

 Training: DeKalb County “has already commenced training
  poll workers” (including backup workers) and “is providing
  improved training” for the November 2020 Election. (Id. ¶¶ 10–
  11.) This will include “in-person training” and “a live simulation
  of the entire voting process from start to finish.” (Id. ¶ 11.)

 Emergency Paper Ballots: DeKalb County expects to have
  “a sufficient amount of emergency paper ballots” at each voting
  location, and “has the capacity to print [and deliver] additional
  emergency paper ballots on Election Day” if necessary. (Id. ¶¶ 8,
  13.) The ability to print emergency paper ballots goes directly
  to Plaintiffs’ claim that County Defendants have insufficient
  paper ballots at the polling locations.

 Voting Alternatives: DeKalb County will have 12 early voting
  locations open for almost 3 weeks (including weekends). (Id. ¶
  3.) The county also has “taken steps to improve the efficiency of
  the absentee voting process,” including by acquiring new
  scanning equipment and engaging a non-profit organization with
  expertise in absentee voting. (Id. ¶ 14.) The county is sending
  absentee ballot applications to all registered voters and is
  placing 24 absentee ballot boxes throughout the county. (Id. ¶¶
  17–18.)


                              24
        Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 25 of 78




         Line-Tracking: DeKalb County will deploy a new software
          application that allows voters and the county to monitor line
          length at all voting locations. (Id. ¶ 16.)

                   d)    Gwinnett County

        Plaintiffs allege long lines occurred at certain voting locations

within Gwinnett County in 2016, 2018, and June 2020. (Dkt. 1 ¶¶ 129–

142.)      Plaintiffs say these lines were caused by polling place

consolidation, technical issues, understaffing, inadequate training of poll

workers, and the delayed delivery of equipment to voting locations. (Id.)

        But a senior Gwinnett County official presented evidence that the

county “has taken a number of steps to learn from the June primary and

prepare for the November election.” (Dkt. 108-1 ¶ 5; see Dkt. 142-1 ¶ 12.)

Those steps include:

         Voting Equipment: Gwinnett County has “made significant
          changes to their voting machine allocation,” which Plaintiffs
          concede puts them at “lower risk” of long lines. (Dkt. 148 at 17.)

         Poll Workers: Gwinnett County has “added more in-person
          training opportunities for poll workers who will be working in
          the November election.” (Dkt. 142-1 ¶ 9; see Dkt. 108-1 ¶¶ 12–
          16.) That training is now well underway. (Dkt. 108-1 ¶¶ 15–16.)
          The county also has “added additional individuals for November
          to ensure that all polls will be adequately staffed.” (Dkt. 142-1
          ¶ 10.)




                                      25
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 26 of 78




      Equipment Delivery: Gwinnett County has secured “more
       trucks and drivers” for equipment delivery and established a
       “better communication” system with its transportation
       contractor.   (Id. ¶ 5.)     The county also has revised its
       “instructions for [equipment] logic and accuracy testing” in
       advance of delivery. (Id. ¶¶ 7–8.) The county implemented these
       changes in an August 2020 election and “all equipment was
       delivered and set up well in advance of the start of voting.” (Id.
       ¶¶ 5, 8.) The county expects no delivery issues in November
       2020. (Id. ¶ 6.)

      Alternative Voting: “For the first time ever, Gwinnett County
       will open nine early-voting locations for all three weeks of early
       voting.” (Id. ¶ 11.)

                 e)    Clayton County

     Plaintiffs allege long lines occurred at certain voting locations

within Clayton County in 2008, 2018, and June 2020. (Dkt. 1 ¶¶ 157–

167.) Plaintiffs say these lines were caused by the consolidation of voting

locations, insufficient poll workers, inadequate training, technical issues,

and insufficient emergency paper ballots. (Id.)

     But a senior Clayton County official has provided an affidavit

showing the county is making changes for the November 2020 Election.

(Dkt. 140.) Those changes include:

      Voting Locations: Clayton County has increased its voting
       locations from 58 in June 2020 to 65 in November 2020. (Id. ¶
       4.) The county is monitoring early and absentee voting so it can
       adjust its equipment allocations based on unanticipated voting
       patterns. (Id. ¶ 10.)


                                     26
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 27 of 78




      Poll Workers: Clayton County is providing in-person training
       to poll workers. (Id. ¶ 12.) Training is offered 6 days per week,
       several times per day. (Id.) The county has reduced class sizes
       to 20 workers. (Id.)

                   f)   Henry County

     Plaintiffs allege long lines occurred at certain voting locations

within Henry County in June 2020. (Dkt. 1 ¶¶ 168–174.) Plaintiffs say

these lines were caused by the consolidation of voting locations,

understaffing, inadequate training, and technical issues. (Id.)

     But a senior election official provided evidence the county is making

changes “based on lessons learned and experience from the June 2020

primary and August 2020 run-off election.” (Dkt. 108-3 ¶ 6.) Those

changes include:

      Voting Equipment: Henry County has secured 55% more poll
       pads, 117% more ballot marking devices, and about 30% more
       scanners than it had for the June 2020 Primary. (See Dkt. 149-
       1 at 9.)

      Poll Workers: Henry County “has increased recruitment
       efforts for poll workers” by working with the state and other local
       organizations. (Dkt. 108-3 ¶ 7.) It has now secured “a sufficient
       number of poll workers” for each polling place, as well as backup
       workers in case of cancellations. (Id.)

      Training: Henry County is “improving training” for poll
       workers by requiring each worker to “perform[] a live simulation
       of the entire voting process” before the election. (Id. ¶ 9.) The


                                   27
        Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 28 of 78




          county will provide this training to backup workers as well. (Id.)
          The training program has already begun and will last for more
          than 3 weeks. (Id. ¶ 8.)

         Backup Paper Supplies: Henry County expects to have
          “a sufficient amount of emergency paper ballots,” and will keep
          a paper list of voters at each voting location in case electronic
          poll pads malfunction. (Id. ¶¶ 6, 10.)

                   g)    Douglas County

        Plaintiffs allege long lines occurred at three voting locations within

Douglas County in June 2020 due to technical issues. (Dkt. 1 ¶¶ 175–

181.)    Douglas County has since determined that those issues were

largely caused by insufficient “on-site technical support” and human

error by an election manager. (Dkt. 146-1 ¶¶ 5–6.) The county has

replaced the manager responsible and secured “an on-site technician for

every polling location during the November 2020 election.” (Id.) The

county also has taken other steps to ensure a smooth election in

November:

         Voting Equipment: It has “increased the number of poll pads,
          BMDs, and ballot scanners to many of its precincts.” (Dkt. 146-
          1 ¶ 7.)

         Alternative Voting: It has increased its early voting locations
          from 5 in June 2020 to 8 in November 2020 — and it has notified
          voters of these new locations by email. (Id. ¶ 4.) The county also
          has mailed absentee ballot applications to all registered voters.
          (Id.)


                                      28
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 29 of 78




                 h)     Macon-Bibb County

     Plaintiffs allege long lines occurred at certain voting locations

within Macon-Bibb County in 2012, 2016, 2018, and June 2020. (Dkt. 1

¶¶ 182–189.)     Plaintiffs say these lines were caused by insufficient

training, technical issues, understaffing, and delays setting up

equipment on Election Day. (Id. ¶¶ 183–186.) But Macon-Bibb County

has taken steps to address these issues and to otherwise ensure a smooth

election in November:

      Set-Up Delays: Poll workers will now arrive earlier to set up
       the voting equipment. (Dkt. 128-1 ¶ 5.)

      Staffing: Macon-Bibb County has secured 357 poll workers for
       its 31 voting locations. (Dkt. 128-3.) It says it “will have enough
       . . . poll workers to accommodate each and every polling location
       in” the county. (Dkt. 128-1 ¶¶ 9–10.)

      Training: Macon-Bibb County is now conducting “in-person,
       hands-on poll worker training.” (Id. ¶ 6.) Training for the June
       2020 Primary was “almost exclusively virtual.” (Id. ¶ 6.)

                 i. Conclusion

     The evidence shows Defendants have taken extensive measures to

address the issues that caused long lines in the past. It is possible, of

course, these measures will ultimately prove insufficient and long lines

will still arise. But that is not the point; no one, including this Court, can



                                     29
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 30 of 78




guarantee short lines. See Georgia Shift v. Gwinnett Cty., 2020 WL

864938, at *5 (N.D. Ga. Feb. 12, 2020) (“This Court cannot guarantee that

voters will not have to stand in line.”). The point is these measures

materially distinguish the November 2020 Election from the June 2020

Primary (and earlier elections) — and this precludes the Court from

assuming June (or the more distant past) will repeat itself in November.

           3.    Plaintiffs’ Cases are Unavailing

     Plaintiffs cite O’Shea, 414 U.S. 488 and Lynch v. Baxley, 744 F.2d

1452, 1456 (11th Cir. 1984) in support of their theory that Defendants’

past conduct establishes imminent injury. (Dkt. 111 at 4–5.) But the

O’Shea court found there was not standing, rejecting the argument that

defendants’ “pattern and practice of conduct” established imminent

injury.   O’Shea, 414 U.S. at 493–99.           And although the court

acknowledged that “past wrongs are evidence bearing on whether there

is a real and immediate threat of repeated injury,” it also said that “[p]ast

exposure to illegal conduct does not in itself show a present case or

controversy regarding injunctive relief.” Id. at 495–96.

     Lynch is equally unhelpful. The court there held plaintiff was

“realistically threatened by a repetition of his experiences and therefore



                                     30
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 31 of 78




ha[d] standing to seek the requested injunction.”       744 F.2d at 1457

(emphasis added). But Lynch was decided years before the Supreme

Court expressly adopted the heightened standing requirement of a

“certainly impending” injury. Whitmore v. Arkansas, 495 U.S. 149, 158

(1990) (“A threatened injury must be certainly impending to constitute

injury in fact.”). And, more recently, the Court has squarely rejected an

attempt to “replace the requirement of imminent harm . . . with the

requirement of a realistic threat” of injury — the very standard on which

the Lynch court relied. Summers, 555 U.S. at 499–500; see Georgia Shift,

2020 WL 864938, at *3 (“In Summers, the Supreme Court rejected a

standing test that would replace the requirement of ‘imminent’ harm

with the requirement of ‘a realistic threat.’”). Given these developments,

Lynch is not useful guide here.8


8 Lynch is also distinguishable on the facts. The plaintiff there sought to
enjoin the state from “detaining in county jails persons awaiting mental
illness involuntary commitment proceedings.” 744 F.2d at 1454. The
court said he had standing including because (1) he had been
incarcerated twice in the last three years while he awaited commitment
proceedings, and (2) the state had “ordered the possibly mentally ill
detained in three-fourths of the county jails in the state.” Id. at 1456–57.
But the court did not focus only on historical facts. The court emphasized
that plaintiff suffered from an existing “mental condition,” that a statute
expressly authorized the state to incarcerate those awaiting commitment


                                    31
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 32 of 78




     Plaintiffs’ strongest authorities are actually cases they fail to cite:

Ciudadanos, 622 F.2d 807 and 31 Foster Children v. Bush, 329 F.3d 1255

(11th Cir. 2003). But even those cases do not establish imminence here.

Ciudadanos involved a Texas statute that left the “selection of potential

grand jurors . . . entirely to the discretion of the jury commissioners.” 622

F.2d at 811.       Plaintiffs sued the commissioners, claiming they

systematically excluded members of plaintiffs’ demographic group from

jury selection in violation of the Fourteenth Amendment. Id. at 812–13.

The court found plaintiffs had standing to seek injunctive relief because

(1) “the very nature of the Texas selection scheme” was “highly subjective

and susceptible to abuse”; (2) the commissioners had, for “over ten

years[,] . . . consistently produced grand juror lists upon which the classes

to which [plaintiffs] belong have been substantially underrepresented”;




proceedings, that the state admittedly continued to invoke the statute,
that “mental health facilities are not available in certain counties,” and
that jails were the only facilities “routinely available” for many people
awaiting commitment proceedings. Id. All of these facts were present
and ongoing, rather than historical, making them plausibly predictive of
future harm. In contrast, Plaintiffs here focus largely on historical facts
— long lines at past elections. They say little about present and ongoing
facts that make long lines likely in the future.


                                     32
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 33 of 78




and (3) this evidence was “sufficient to give rise to a strong inference that

the injury will be repeated in the future.” Id. at 820–21.

     31 Foster Children involved a putative class action brought by

several children in Florida’s foster care system. 329 F.3d at 1260. The

children claimed that Florida’s foster care officials consistently provided

them with terrible care in violation of the U.S. Constitution. Id. at 1260–

61, 1264–65. The court found the children established an imminent

injury because (1) “[t]hey cannot avoid exposure to the defendants’

challenged conduct” and (2) “[t]he alleged systemic deficiencies in the

Florida foster care system are similar to an injurious policy.” Id. at 1266.

     Ciudadanos and 31 Foster Children stand for the proposition that

past wrongs can predict future wrongs if there is a long record of wrongs

and no reason to think they will not continue. But that is not our case.

Defendants here have taken substantial steps to address the issues that

caused long lines in the past. So the Court cannot assume those issues

will continue in the future based only on their existence in the past —

especially   when    there   are   unique    elements    about    the   past




                                     33
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 34 of 78




(e.g., the intersection of a new voting system and a new pandemic).9 The

bottom line is that past is not necessarily prologue here. The Court

rejects Plaintiffs’ argument that, because long lines have occurred in the

past, they are certainly impending in November 2020.10

     D.    Plaintiffs’ Expert Predictions Do Not Establish a
           Certainly Impending Injury

     To bolster their contention that Defendants are likely to repeat the

failures of the past, Plaintiffs have retained Dr. Muer Yang to predict

November 2020 Election Day wait times at polls in seven of the Nine

Counties.11 Dr. Yang is an associate professor of operations management

at a university in Minnesota. (Dkt. 93-62 at 2.) His predictions are based

largely on the number of voters assigned to each polling location and the

amount of voting equipment available to accommodate those voters.



9   As explained above, Georgia’s pre-2020 elections are also
distinguishable from today’s elections because they used a different
voting system.
10 Church v. City of Huntsville, 30 F.3d 1332 (11th Cir. 1994) also relied

on past wrongs to predict future wrongs. But it has little in common with
our case. In Church, unlike here, there was no reason to believe
defendants would change their conduct going forward. Indeed, there was
every reason to believe they would continue their conduct because it was
part of “a well organized and coordinated campaign” — an intentional
and ongoing municipal policy — to cause the injuries about which
plaintiffs complained. Id. at 1339.
11 Dr. Yang offers no prediction for Chatham County or Clayton County.



                                   34
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 35 of 78




     Dr. Yang initially submitted a declaration in which he offered

predictions for only Henry and Fulton Counties (“First Report”).

(Dkt. 93-62 at 40–45, 48–51.) But his analysis was based on the counties’

equipment allocation during the June 2020 Primary and, as explained

above, both counties are making significant adjustments to alleviate the

problems they experienced in that election. As mentioned above, in an

effort to afford Plaintiffs the opportunity to show the requisite certainty

of a future injury for standing, the Court (at the close of its first hearing)

ordered County Defendants to provide Dr. Yang with additional data so

he could perform his analysis for all Nine Counties based on their

equipment and voter allocations for the November 2020 Election.

Specifically, the Court ordered County Defendants to provide Plaintiffs

the number of registered voters assigned to each polling location and the

number of BMDs, scanners, and poll pads assigned to each of those

locations for both the June 2020 Primary and the upcoming November

2020 Election. (See Dkts. 125; 138; 159 at 119–127.) This was the very

information Plaintiff’s sought in their preliminary injunction motion so

that Dr. Yang could calculate wait times at each polling place in

November. (Dkt. 119-3 at 5.)



                                     35
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 36 of 78




     Dr. Yang has now submitted a second declaration, redoing his

analysis for Henry and Fulton Counties and offering new predictions for

the remaining counties (“Second Report”).         (Dkt. 105-1.)    Dr. Yang

predicts wait times of at least 30 minutes — which he defines as “long”

— at certain voting locations within Fulton County, Gwinnett County,

Macon-Bibb County, Henry County, Douglas County, and DeKalb

County. Plaintiffs say this shows long lines are certainly impending at

those locations. The Court disagrees.12


12 In their complaint and personal declarations, Plaintiffs repeatedly say
their injuries will be triggered by “long lines.” (See Dkts. 1 ¶¶ 12–16; 93-
30 ¶ 9; 93-31 ¶ 8; 93-32 ¶ 8; 93-60 ¶¶ 10, 18–19; 93-63 ¶¶ 10–11.) They
never say (at least for the purposes of their alleged injury) that “long”
means “30 minutes”; indeed, they often suggest it means something
closer to hours. (See, e.g., Dkts. 1 ¶¶ 12–14 (complaining about hours-
long lines); 93-30 ¶ 9 (“I am concerned I will have to wait in hours long
lines again.”); 93-31 ¶ 8 (“I am concerned about . . . wait[ing] in line for
hours to cast my vote.”); 93-32 ¶ 8 (“I do not know if I will be able to stand
in line for eight hours” and “[s]tanding in line . . . for hours puts me at
risk of contracting COVID-19”); 93-60 ¶¶ 6–9 (referring to “[l]ong lines
with up to two-hour wait times,” three-hour waits, “voters waiting for
several hours,” and “eight-hour lines”); 93-63 ¶ 9 (referring to “voters
wait[ing] up to eight hours”).) There is no evidence or allegation that
Individual Plaintiffs are worried about standing in a line that is 31
minutes instead of 29 minutes. Nor is there any evidence or allegation
that Organizational Plaintiffs will decide whether to divert resources
based on that distinction. It is unclear whether Plaintiffs may now, post-
pleading, redefine their injury in the way they seek to do. But, for the
purposes of assessing Plaintiffs’ evidence, the Court will consider
Dr. Yang’s 30-minute barrier.

                                     36
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 37 of 78




           1.    Dr. Yang’s Methodology

     As explained earlier, Georgia uses a three-stage voting process:

(1) voters check in using electronic poll pads; (2) they cast their ballots on

BMDs; and (3) they deposit their printed ballots through scanners. The

following graphic illustrates how the process works:




(Dkt. 93-62 at 11.)

      In his analysis, Dr. Yang predicts voters’ wait times at each stage

of the voting process (check in, cast ballot, deposit ballot) and then adds

those waits together to predict voters’ total wait time. (Dkt. 93-62 at 11.)

                                     37
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 38 of 78




He does this for each voting location within the counties he studied. He

estimates both the average wait time and the maximum wait time at each

location.13 He calculates two average wait times for each location: one,

using a queue formula known as M/M/c; and the other, using a

simulation model developed by someone called Mark Pelczarski. He also

uses the simulation model to calculate the maximum wait time at each

location.

     Dr. Yang’s predictions (whether calculated under M/M/c or the

simulation model) are based on four main inputs: (1) the number of voters

expected to vote at each voting location on Election Day in November

2020, (2) the rate at which voters will arrive at those locations throughout

the day, (3) the amount of voting equipment allocated to each location,

and (4) how long it will take voters to use that equipment once they access

it. (See Dkt. 93-62 at 11–12.)

     Notice that inputs (1), (2) and (4) depend on “how independent

decisionmakers will exercise their judgment” in the November 2020


13“Average wait time at a polling place is the sum of every voter’s wait
time divided by the total number of voters turned out at this poll.” (Dkt.
93-62 at 6 n.5.) “The maximum wait time is the average of wait times of
voters arriving during the worst 15-minute intervals throughout the
day.” (Dkt. 149-1 at 11 n.16.)

                                    38
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 39 of 78




Election: whether thousands of individual registered voters will decide to

vote; if so, using what method; if in person, on what day; if on Election

Day, at what time and how long on each machine. Clapper, 568 U.S. at

413. As a matter of law (rather than science), this raises immediate red

flags because standing is “substantially more difficult to establish” where

it “depends on the unfettered choices made by independent actors not

before the courts and whose exercise of broad and legitimate discretion

the courts cannot presume either to control or to predict.” Lujan v. Defs.

of Wildlife, 504 U.S. 555, 562 (1992); see Clapper, 568 U.S. at 413

(“[W]e have been reluctant to endorse standing theories that require

guesswork as to how independent decisionmakers will exercise their

judgment.”). Moreover, any “theory of standing, which relies on a highly

attenuated chain of possibilities, does not satisfy the requirement that

threatened injury must be certainly impending.” Clapper, 568 U.S. at

410. There is no doubt that Dr. Yang’s predictions do rely on a chain of

possibilities or a sequence of uncertain assumptions. That, too, raises

red flags.




                                    39
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 40 of 78




            2.   General Problems with Dr. Yang’s Predictions

     In addition to the legal red flags mentioned above, the Court has

several concerns with Dr. Yang’s methodology and assumptions. First,

he never fully explains the M/M/c queue theory or the simulation model

on which his predictions are based. He says, in a footnote in his reports,

that the M/M/c model “assumes that a voter’s arrival process follows a

Poisson distribution, the service time follows an exponential distribution,

and c servers in the queue system.” (Dkts. 93-62 at 9 n.7; 149-1 at 4 n.6.)

That is not exactly illuminating.     He says “[s]imulation models are

another popular method used to study waiting lines” because they

“capture more dynamic characteristics of queues” (some of which he then

identifies). (Dkt. 149-1 at 2.) But that hardly tells the Court what the

simulation model actually is. There are, of course, other insights into

both models scattered throughout his reports — for example, that

M/M/c assumes “voters will arrive at a constant rate throughout the

day” whereas the simulation model does not — but no ordinary person

can walk away from Dr. Yang’s report feeling clear about either

approach.    (Id.) That suggests the Court should be cautious before

deferring to them.



                                    40
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 41 of 78




     Second, Dr. Yang assumes voters will spend 45 seconds checking in

with a poll pad and 20 seconds depositing their printed ballot in the

scanner. (Dkt. 149-1 at 7.) But he assumed a check-in time of 30 seconds

in his First Report and does not explain why he now believes it will be

50% longer. (Dkt. 93-62 at 12.) He admits “a small number of polling

places will be affected by this 15-second increase” — meaning it causes

them to exceed his 30-minute barrier — though he does identify which

places those are. (Dkt. 170-2 at 26.) Dr. Yang also assumed, in his First

Report, that voters would spend 14 seconds depositing their ballots in the

scanner. (Dkt. 93-62 at 49.) That assumption was based on a video

demonstration of the voting process, which showed a voter spending

14 seconds at the scanner. (Dkt. 93-62 at 12.) He does not explain why

he now believes that time will be 43% longer. Nor does he say how much,

or at what locations, this increase affected his projections.14




14 Dr. Yang also uses a formula, based on voting data in South Carolina,
to predict the amount of time voters will spend using a BDM to cast their
ballot. (Dkt. 170-2 at 26–27.) Although he says the “overall logic behind
th[e] model” applies to Georgia, he says “local election officials” might
determine the real number is “shorter” or “longer” based on
circumstances in their own jurisdictions. (Id. at 27–28.)

                                     41
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 42 of 78




     Third, there are serious problems with Dr. Yang’s calculation of

expected in-person voters on Election Day in November 2020 — a key

input on which his calculations are based.        In his First Report, he

assumed for Henry County that roughly the same percentage of

registered voters who voted on Election Day in November 2016 would do

so again in November 2020 (minus an anticipated increase in absentee

voting due to COVID-19).      (Dkt. 93-62 at 40–41.)     Now he says the

number will be 40% of the total voter turnout in November 2020

(“40% Methodology”). (Dkt. 149-1 at 8.)15 He gets this 40% figure from

an online national poll (dated July 2020) that asked: “Thinking ahead to

the (2020 presidential) election in November, would your preference be

to vote in person on Election Day, vote in-person early, or vote by mail?”16

(Dkt. 149-1 at 8.) But somebody’s preference for a particular voting

method says little about the method they intend to use. No doubt lots of

people would prefer to vote in person. But many will not do so because


15 His Second Report applies the 40% Methodology to all counties other
than Douglas County. For that county, he uses projections apparently
provided by the Secretary of State. There is no evidence of how those
projections were calculated. (Dkt. 170-2 at 29–30, 35–36, 86–87.)
16 The poll is available at

https://ropercenter.cornell.edu/psearch/question_view.cfm?qid=1958132
&pid=50&ccid=50#top.

                                    42
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 43 of 78




other considerations — like the pandemic or personal responsibilities —

outweigh that preference. (See Dkt. 93-62 at 40 (“Due to the Covid-19

pandemic, voting by mail is expected to be much higher than in previous

elections.”); Dkt. 170-2 at 95.)

      Dr. Yang then applies his 40% figure to the total number of people

expected to vote in November 2020. To determine this latter number, he

applies what he believes to be the overall turnout rate at each precinct in

November 2016 to the total number of registered voters assigned to that

precinct today.    He gets the November 2016 turnout rate from the

Georgia Secretary of State’s website. (Dkt. 149-1 at 8 n.13.) But that

website appears to report conflicting rates for each county.             And,

although Dr. Yang does not know which rate is accurate, his report

generally uses the higher one. (See Dkt. 170-2 at 40–44, 48–50.)17




17       One        set      of       rates      is       located     at
https://sos.ga.gov/index.php/Elections/current_and_past_elections_resul
ts;                               another                             at
https://sos.ga.gov/index.php/elections/general_election_turnout_by_dem
ographics_november_2016. For example, the former says turnout rate
was 75% in Fulton County in November 2016. But the latter says that
rate was 57%. Dr. Yang includes the higher rate (75%) in his report.
(Dkt. 149-1 at 22.) There are similarly conflicting numbers for Douglas
County (78% vs. 63%), Macon-Bibb County (72% vs. 60%), and other


                                    43
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 44 of 78




     Dr. Yang testified at his evidentiary hearing that he now prefers

his second methodology for predicting election day voters in November

2020 (40% x projected overall turnout) because the COVID-19 pandemic

makes the November 2016 data less reliable. (See, e.g., Dkt. 170-2 at 44–

45, 84–85.) But this does not account for the unreliability of the 40%

number itself (pulled from a poll about preferences rather than plans or

past performance). Nor is the assertion credible since (1) Dr. Yang’s First

Report used the very methodology he now criticizes and (2) his Second

Report still relies on data (overall turnout) from the November 2016

Election. Indeed, even at his evidentiary hearing, Dr. Yang testified that

“you can pick [his first methodology] to project election voters this year.”

(Dkt. 170-2 at 50; see also id. at 61 (“[Y]ou can argue either way.”), 72

(“[Y]ou can probably do that.”).)     He further testified that the 40%

Methodology “was just presenting you [with] another case” but that it

was up to officials’ “local elections judgment” to decide how “likely” that

scenario was. (Dkt. 170-2 at 72.) The problems with Dr. Yang’s 40%




counties. (See Dkt. 149-1 at 17, 25 (Dr. Yang citing the higher rate for
Douglas and Macon-Bibb Counties).)


                                    44
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 45 of 78




Methodology are explored in more detail in the Court’s analysis of Henry

County below.

            3.   Dr. Yang’s Predictions Fall Short in Each County

     The Court now looks at Dr. Yang’s specific predictions for the

counties he studied. His predictions ultimately establish no more than a

possibility — not even a reasonable likelihood — of long voting lines in

November 2020. Under binding precedent, that is not enough to show

standing.

                 a)   Cobb, Fulton, Gwinnett, and Macon-Bibb
                      Counties

     Having received Dr. Yang’s Second Report, Plaintiffs concede that

“Cobb County, Fulton County, and Gwinnett County have made

significant changes to their voting machine allocation and, due to those

re-allocations, appear to be at a lower risk for voting lines of over 30

minutes long, at least due to machine allocation.” (Dkt. 148 at 17.)

Although Plaintiffs do not say so explicitly, Macon-Bibb County is clearly

“lower risk” as well since its projected wait times are even lower than

Fulton County’s (and about the same as Gwinnett’s). (Dkt. 149-1 at 26.)

     Plaintiffs admit Cobb County “does not have any locations that are

predicted to have voting lines of over 30 minutes during peak times due


                                   45
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 46 of 78




to voting machine allocation.” (Dkt. 148 at 17.) So Dr. Yang’s analysis

offers no support for Plaintiffs’ contention that Cobb County voters face

a “certainly impending” injury from long lines.

     Dr. Yang also found that Fulton County allocated enough BMDs to

each voting location. (Dkt. 149-1 at 23.) But he did raise concerns about

the number of scanners at two Fulton County locations: 1272 and 729

(also identified as 08E/09F and ML03/ML07AB).            (Id. at 23.)    He

concluded that the county’s decision to have just one scanner at each of

these locations could lead to wait times of 39 and 31 minutes during peak

periods. (Id.) He thus recommended the addition of another scanner at

each location.   (Id.)   During the evidentiary hearing, Fulton County

Defendants pointed to their most recent equipment allocation plan,

which shows three scanners at locations 1272 and 729. (Dkts. 168-1 at 1;

170-2 at 75–78.)     Dr. Yang conceded he had been unaware of this

allocation, that it exceeded his recommendation, and that he no longer

has any basis to believe the county’s allocation of voting equipment will

result in wait times (even during peak periods) that exceed his 30-minute

barrier. (Id.)




                                    46
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 47 of 78




     Finally, Dr. Yang found that Gwinnett and Macon-Bibb Counties

each have two voting locations at which there may be maximum wait

times of 30–32 minutes. (Dkt. 149-1 at 24–26.)18 But he testified at his

evidentiary hearing that there was “wiggle room” in his numbers —

which were not “precise” — and that a projected wait time of 31 minutes

“very possibl[y] . . . could be 29 minutes or about 28 minutes” or even

25 minutes. (Dkt. 170-2 at 23, 79.) So his predictions for Gwinnett and

Macon-Bibb Counties — especially when combined with the Court’s

general concerns outlined above — establish no more than “a ‘perhaps’ or

‘maybe’ chance” of 30-minute lines in those counties. County Bowen, 233

F.3d at 1340.   That is insufficient to show standing, even assuming

30 minutes constitutes a “long line.” Id.

                 b)   Henry County

     Henry County Defendants have perhaps the most compelling

argument against standing of all the counties for which Dr. Yang offered

predictions. In his First Report, Dr. Yang analyzed Henry County’s voter

and equipment allocation information for the June 2020 Primary. He



18He conceded the average wait times at these locations would be no more
than 9 minutes, raising a concern only about the busiest 15 minutes in
the voting day. (Dkt. 149-1 at 24, 26.)

                                   47
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 48 of 78




found that the allocation was insufficient at certain voting locations. He

then recommended a new allocation plan for November 2020. (Dkt. 93-62

at 40–45.)   He said his plan would result in average wait times of

“no more than three minutes long at any polling location[] and no voter

would have to wait for more than 30 minutes.” (Id. at 43.)

     During litigation before this Court, Henry County presented

evidence that, based on its experience in the June 2020 Primary, it

increased and reallocated voting equipment at each of its 37 polling

places for the November Election. (Dkt. 164-1 ¶ 7.) As part of this, it

more than doubled the number of BMDs it plans to deploy from 222 in

June to 482 in November. (Id.) It also increased the number of poll pads

it will deploy to the precincts from 74 to 115. (Id.) Henry County’s

reallocations and deployment of additional voting equipment exceeded

Dr. Yang’s recommendations in every precinct. (Compare Dkt. 93-62 at

44–45 with Dkt. 133-1.) For example, while Dr. Yang recommended that

Henry County allocate 8 BMDs to the Locust Grove location, the county

decided to include 12 machines at that location. (Dkts. 93-62 at 44; 133-

1.) It will send 16 BMDs to the Westside location, rather than the 8 he

recommended. (Id.) The Lowes precinct will get 20 rather than the 12



                                   48
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 49 of 78




he recommended, and the North Hampton and Stockbridge precincts will

get 20 and 16 rather than the 9 and 8 he proposed. (Id.)

     After receiving Henry County’s allocation plan for the November

2020 election, Plaintiffs asked Dr. Yang to reanalyze the county’s

deployment of voting equipment.        As the county has now exceeded

Dr. Yang’s prior recommendations, one might expect his new analysis to

re-verify his prior conclusion that “no voter would have to wait for more

than 30 minutes.”      But, not so.        In his Second Report, Dr. Yang

dramatically changed his methodology to increase his estimate of

Election Day turnout — and that change allowed him to predict

maximum wait times of 31–91 minutes in 7 Henry County precincts,

notwithstanding his earlier prediction that none of those precincts would

have problems in November. (Dkt. 149-1 at 11.)

     In his first analysis, he relied on November 2016 voter data from

the Georgia Secretary of State’s website to conclude that “[a]bout 22% of

the total registered voters are Election Day voters” in Henry County.

(Dkt. 93-62 at 40.) In recognition of his belief that “Covid-19 will increase

the mail-in absentees in the 2020 General Election” like it did in the June

2020 Primary, he ultimately assumed that “Election Day voters at each



                                      49
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 50 of 78




polling place in Henry County in the November General Election [would

be] 19% of the total registered voters.” (Id. at 40–41.)

     In his second analysis, he threw out his 19% in-person Election Day

rate. Instead, he determined from documents on the Georgia Secretary

of State’s website that Henry County had a total voter turnout rate of

79% in the November 2016 Election. (Dkts. 149-1 at 8 & n.13; 170-2 at

59–60.) He then considered a July 2020 poll from the Pew Research

Center’s American Trends Panel which found that, when “[t]hinking

ahead to the (2020 presidential) election in November,” 40% of

respondents said their “preference” would be to vote in person on Election

Day. (Dkt. 149-1 at 8.) He accepted this as showing that “40% of voters

are likely to vote in person on Election Day.” (Id.) Applying these two

multiples together (79% x 40%), he concluded that 31.6% of Henry

County’s registered voters would vote on Election Day next month — a

12.6% increase from his prior estimate. (Dkt. 170-2 at 59–60.)

     He relied on this calculation despite no evidence suggesting Henry

County voters had ever before turned out to vote on Election Day at that

level. He did this despite his previous calculation using actual historical

data showing only 22% of the county’s registered voters go to the polls on



                                    50
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 51 of 78




Election Day. He also did this despite having “assume[d] for the purposes

of [his second] analysis that the overall voter turnout in the 2020

Presidential Election [will be] the same as the turnout for the 2016

Presidential Election, though it may in fact be higher.” (Dkt. 149-1 at 8.)

     Dr. Yang’s decision to increase his assumption of Election Day

voting by 12.6% had a profound impact on his conclusions. For the Locust

Grove precinct, for example, his Second Report estimated 2,275 Election

Day voters, nearly doubling his previous estimate of 1,237 voters. (Dkts.

93-62 at 44; 149-1 at 11.) His estimate for voter turnout at the Sandy

Ridge precinct also nearly doubled, increasing from his initial estimate

of 896 to 1,641 (an increase of 745 voters).     (Id.)   He had similarly

dramatic increases in several other Henry County precincts. (Id.) As a

result of his methodological change, Dr. Yang now predicts maximum

wait times exceeding his 30-minute barrier at 7 precincts.              He

recommends adding more equipment to those locations.

     Dr. Yang’s new analysis is too speculative to show that 30-minute

lines — much less “long lines” — are certainly impending in Henry

County next month. His analysis turns on the 40% figure taken from the

Pew poll and the November 2016 overall turnout rates reported on the



                                    51
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 52 of 78




Secretary’s website.    The Court finds both suspect.      As to the first,

Dr. Yang said he thought the Pew poll presents the “best data” he could

find. (Dkt. 170-2 at 37.) But he could provide no credible reason for

abandoning his prior determination that 19% of registered voters will

vote on Election Day, particularly when he continues to assume

throughout his report that total turnout in the November 2020 Election

will be the same as the November 2016 Election. He testified that the

COVID-19 outbreak “might” have some “kind of influence on the voter

turnout this year.” (Dkt. 170-2 at 45; see id. (“[I]f there was no COVID-

19 this year, I think I would just directly go to 2016 and to [sic] use that

number.”).) He suggested it could increase or decrease voter turnout, he

was not sure. (Id.) He looked to the Pew poll because it was more current

and, he assumed, included any impact the outbreak might have on voter

preference.   (Id.)   It is hard for the Court to believe the COVID-19

outbreak, and the social distancing it mandates, will lead to higher

in-person voter turnout, let alone that it will do so to the extent he now

predicts. Indeed, in his First Report, Dr. Yang was clear that “Covid-19

will increase mail-in absentee ballots in the 2020 General election” just

as it did in the June 2020 Primary, and that “voting by mail is expected



                                    52
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 53 of 78




to be much higher than in previous elections.” (Dkt. 93-62 at 40.) He

never suggested the outbreak would increase in-person voting.           And

County Defendants have presented plenty of evidence that they

anticipate more mail-in voting as a result of the pandemic. (See, e.g.,

Dkts. 128-1 ¶ 9; 164-1 ¶ 6; 167-1 ¶ 7.)

     The Pew poll also was not conducted in Georgia, let alone Henry

County. And, on its face, the poll merely asked (in July) how people

would “prefer” to vote in November. It does not even purport to estimate

how people intend to vote, the purpose for which Dr. Yang adopted it.

     At a hearing, Dr. Yang also could not confirm the accuracy of the

November 2016 turnout rates on which he relied to predict total voter

turnout in November 2020. While talking about his analysis, Dr Yang

explained that he obtained voter turnout rate information for November

2016 from the Secretary of State’s website. (Dkt. 170-2 at 39–42.) He

provided a link to the data in his report. (Dkt. 149-1 at 8 n.13.) During

the hearing, the Court directed Dr. Yang to other reports on the same

website that show different numbers. (Dkt. 170-2 at 48–50.) He could

not explain which report was correct. (Id.) So, by way of example, Dr.

Yang testified that he relied on reports showing Douglas county had a



                                    53
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 54 of 78




voter turnout rate of 78% in the November 2016 Election. (Id. at 39–42;

see also Dkt. 149-1 at 17.)19 But, the Court directed him to a different

report on the same website that showed the county had a turnout rate of

63% in the November 2016 Election. (Dkt. 170-2 at 48–50.)20 Dr. Yang

could not explain which number was more accurate. (Id.) Similarly, the

report from the Secretary of State that Dr. Yang used for calculating

DeKalb County’s turnout rate of 76% is also in conflict with another

report on the Secretary of State’s website which shows a turnout rate of

60% in that county. (Dkt. 149-1 at 14.) The same issue would apply to

Dr. Yang’s calculation of the turnout rate in Henry County, the report he

used showing 79.8% turnout on a countywide basis and the other showing

65.1% turnout on the same basis.21 There is thus a real concern that Dr



19 Dr. Yang did not actually use these reports for Douglas County (since
he obtained numbers directly from Douglas County itself) but he did use
them for the other counties. He testified about the Douglas County report
as an example of what he did for Henry County and other counties
besides Douglas County.
20          The           report          is         available         at
https://sos.ga.gov/index.php/elections/general_election_turnout_by_dem
ographics_november_2016.
21 Compare

https://sos.ga.gov/index.php/Elections/current_and_past_elections_resul
ts with
https://sos.ga.gov/index.php/Elections/voter_turn_out_by_demographics.


                                   54
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 55 of 78




Yang substantially overstated the counties’ likely turnout rate in

November.

     Given Dr. Yang’s prior conclusion that Henry County will

experience no wait times longer than 30 minutes from the adjustment

the county made, his prior assumption that November 2020 will see the

same level of Election Day voting as November 2016, his failure to

provide any credible (much less compelling) basis for turning away from

that assumption, his decision to now use a Pew poll of national voting

“preference,” and his inability to substantiate the turnout data he pulled

from the Secretary’s website in the light of conflicting data located

elsewhere on the same website, the Court finds Dr. Yang’s Second Report

is too speculative and unreliable to show that long lines are certainly

impending in Henry County for the November 2020 Election.

                 c)   Douglas County

     Plaintiffs’ complaint does not say that Douglas County voters

previously suffered long lines as a result of voting equipment shortages.

Instead, it alleges the county suffered long lines because “software

errors” delayed the start of voting and rendered certain machines

inoperable. (Dkt. 1 ¶¶ 176–178.) Dr. Yang nevertheless predicts that



                                   55
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 56 of 78




14 voting locations in Douglas County will experience maximum wait

times of 31–119 minutes as a result of equipment allocations. (Dkt. 149-

1 at 18.)

      But these wait times (10 of which are less than an hour) assume an

extraordinarily high turnout on Election Day in November 2020. To

justify that assumption, Dr. Yang did not use November 2016 Election

data (as he did for Henry County in his First Report) or the 40% figure

from the Pew poll (as he did for every other county in his Second Report).

Instead, he used turnout projections that he received from Douglas

County, which apparently obtained them from the Georgia Secretary of

State’s Office. (Dkt. 170-2 at 29–30, 35–36.) Dr. Yang believes the

Secretary’s numbers are the most reliable prediction of Election Day

turnout because “local election officials know better about their own

place.” (Id. at 86.)   But he does not know how the Secretary came up

with his numbers. (Id. at 86–87.)

      And they are wildly inconsistent with historical Election Day

turnout in Douglas County, including from as recently as June 2020

(during the pandemic).     Take precincts 1272 and 729, for example.

Dr. Yang predicts the longest maximum wait times at those locations



                                    56
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 57 of 78




(119 and 116 minutes). (Dkt. 149-1 at 18.) And he does so based on the

assumption that 37% and 35.5% of registered voters will vote on Election

Day at each location.22 But those percentages were about 22.5% and

27.2% in November 2016 (and potentially lower depending on which

Secretary of State data you use).23 If Dr. Yang applied these November

2016 percentages (as he did in his First Report), his projected Election

Day turnout would drop from 2,008 to 1,223 in precinct 1272, and from

1,990 to 1,526 in precinct 729.       Those differences are substantial.

Likewise, Dr. Yang assumes that 51.2% and 64.3% of the total turnout in




22  37% = 2,008 Election Day voters / 5,435 registered voters;
35.5% = 1,990 Election Day voters / 5,612 registered voters. (See Dkts.
149-1 at 18 (Dr. Yang predicting 2,008 and 1,990 Election Day voters at
precincts 1272 at 729); 132-3 at 4, 7 (5,435 and 5,612 registered voters in
precincts 1272 and 729).)
23 These percentages are based on data reported in the same part of the

Secretary’s website on which Dr. Yang relies for other elements of his
analysis:                                                                  :
https://results.enr.clarityelections.com/GA/63991/184321/en/select-
county.html. But another report on the Secretary’s website shows a
much        lower      turnout       rate     in     Douglas       County:
https://sos.ga.gov/index.php/elections/general_election_turnout_by_dem
ographics_november_2016 (68.6% vs. 82.9% in precinct 1272; 55.3% vs.
71.2% in precinct 729). As explained earlier in this Order, Dr. Yang did
not know which data was correct.

                                    57
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 58 of 78




precincts 1272 and 729 will vote on Election Day.24 But in June 2020,

those percentages were just 34.8% and 44%.25 These differences are also

significant.

     It is far from clear that Dr. Yang’s percentages make more sense

than the lower ones described above. We do not know how his were

calculated (beyond the fact that they were obtained from the Secretary).

And they do not square with Douglas County’s actual voting history in

the most recent general and pandemic-affected elections. Given these

facts, the lower percentages seem at least as plausible as those used by

Dr. Yang. Indeed, Dr. Yang himself would have used them (and even

reduced them to account for an expected increase in absentee voting) if

he were still applying the methodology on which he relied in his First

Report. (See Dkt. 93-62 at 40–41.)




24 51.2% = 2,008 Election Day voters / 3,924 total votes cast; 64.3% = 1,990
Election Day voters / 3,095 total votes cast. (See Dkts. 149-1 at 18 (Dr.
Yang predicting 2,008 and 1,990 in-person Election Day voters in
precincts 1272 and 729); 132-4 at 4 (predicting total turnout of 3,924 and
3,095 voters in precincts 1272 and 729).)
25 34.8% = 599 Election Day voters / 1,720 total votes cast; 44% = 682

Election    Day     voters     /   1,549   total    votes    cast.       See
https://results.enr.clarityelections.com/GA/Douglas/103662/web.254232/
#/summary?v=255449%2F.

                                     58
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 59 of 78




     These lower percentages would reduce the wait times predicted in

Dr. Yang’s report. We do not know by how much, of course. Maybe it

would have a big impact. Maybe not. But this uncertainty is precisely

what precludes the Court from saying long lines are “certainly

impending” in Douglas County. The water is muddied even further by

the fact that, since receiving Dr. Yang’s report, Douglas County has

added more voting equipment to all 14 locations at which Dr. Yang

predicted wait times of at least 30 minutes. (Dkt. 167-1 ¶ 8.) Dr. Yang’s

projections do not account for this new development, which presumably

will reduce wait times even more. When all of this is combined with the

Court’s broader reservations about Dr. Yang’s report, his predictions are

simply too speculative to meet Plaintiffs’ burden to show a certainly

impending injury.

                 d)   DeKalb County

     Dr. Yang predicts maximum wait times of 36 minutes, 40 minutes,

and 207 minutes at three voting locations in DeKalb County. (Dkt. 149-

1 at 14.) DeKalb County officials have since presented evidence that they

“anticipate being in a position to allocate additional poll pads and

scanners” to all three locations if space and staffing permit. (Dkt. 166-1



                                   59
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 60 of 78




¶ 11; see id. ¶ 7 (“DeKalb VRE is in the process of ordering 50 additional

scanners to be delivered for use at polling locations on Election Day. The

DeKalb VRE is also working on an acquisition of 125 additional poll pads

to be delivered for use at polling locations on Election Day.”).) Given this

development, and the “wiggle room” already inherent in Dr. Yang’s

projections, Plaintiffs have not shown long lines are certainly impending

in the 36- and 40-minute locations.

     The 207-minute location (McWilliams) is a closer call.             The

projected wait time for that location assumes 40% of the total turnout in

November 2020 will vote on Election Day. At his evidentiary hearing,

Dr. Yang “guess[ed]” that the voting location “still might be a problem”

even if he assumed (as he did in his First Report) that November 2020

will see the same Election Day turnout as November 2016. (Dkt. 170-2

at 71.)26 Although he did not “have time to do the math” during the

hearing, he did do “a quick calculation” from which he determined that

the maximum wait at McWilliams would likely fall from 207 minutes to

85 minutes. (Id. at 71, 82–83.) He said the “bottleneck” in that scenario


26He said this assumption was “likely to reduce” the 36- and 40-minute
locations to less than a 30-minute wait. (Dkt. 170-2 at 72; see id. (“[Y]ou
can probably do that.”).)

                                      60
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 61 of 78




would be the check-in stage because there were insufficient poll pads

there. (Id. at 83.)

      Given that DeKalb County now anticipates adding poll pads to the

McWilliams location, it is unclear whether the check-in bottleneck would

still arise under Dr. Yang’s model. Adding poll pads might simply move

the bottleneck to the BDM stage of the process, but there is no clear

evidence about that one way or the other. (See Dkt. 170-2 at 83 (testifying

that, after running his “quick calculation” during the hearing, “the check-

in station is the bottleneck, it’s not the voting machines”); id. at 68–69

(testifying that, under his 40% Methodology of predicting Election Day

turnout at McWilliams, “if you increase the poll pads, the voters can flow

through this first step very quickly, and then the supplemental BMDs

could be a bottleneck” (emphasis added)).) Given the potential addition

of equipment at McWilliams, Dr. Yang’s reliance on the 40%

Methodology, his admittedly incomplete attempt during the hearing to

calculate wait times based on Election Day turnout in November 2016,

and the Court’s broader reservations about his report, Dr. Yang’s




                                    61
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 62 of 78




predictions also fail to meet Plaintiffs’ burden to show “certainly

impending” long lines at McWilliams.27

     E.    Plaintiffs’ Injuries      Are    Not   Traceable      to   State
           Defendants

     Even if Plaintiffs had established an Article III injury based on

certainly impending long lines in November, they have not shown that

injury is traceable to State Defendants.       Traceability is the second

element of the standing doctrine.        It requires “a fairly traceable

connection between the plaintiff’s injury and the complained-of conduct

of the defendant.”   Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,

103 (1998). A “showing of proximate cause” is not necessary. Resnick v.

AvMed, Inc., 693 F.3d 1317, 1324 (11th Cir. 2012). “Even a showing that

a plaintiff’s injury is indirectly caused by a defendant’s actions satisfies

the fairly traceable requirement.” Id. But the injury cannot “result

[from] the independent action of some third party not before the court.”

Hollywood Mobile Estates Ltd. v. Seminole Tribe of Fla., 641 F.3d 1259,




27Even assuming there were certainly impending long lines at one or two
voting locations, Individual Plaintiffs have not alleged that they plan to
vote there and Organizational Plaintiffs have not alleged that they will
divert resources based on the risk of only fleeting long lines at those
specific locations.

                                    62
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 63 of 78




1265 (11th Cir. 2011).        And traceability does not exist where

“an independent source would have caused [plaintiff] to suffer the same

injury.” Swann v. Sec’y, Georgia, 668 F.3d 1285, 1288 (11th Cir. 2012);

see 13A Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Juris.

§ 3531.5 (3d ed. Apr. 2020 Update) (“standing may be defeated by finding

a different cause” and “[d]irect breaks in the causal chain have defeated

standing in a wide variety of other circumstances”).

     Plaintiffs claim they will be injured by long lines in the November

2020 Election. Plaintiffs say those lines will be caused by (1) insufficient

polling   locations,   (2) insufficient   voting   equipment     allocation,

(3) insufficient poll workers, (4) inadequate training of poll workers,

(5) insufficient technicians, (6) insufficient time to set up polling

locations, and (7) insufficient backup paper pollbooks and emergency

paper ballots.   As discussed above, Plaintiffs have presented future

evidence only about the allocation of voting equipment. The Court finds

that evidence insufficient to establish imminent injury but, even

assuming it was sufficient, Plaintiffs have not shown State Defendants

are responsible for the equipment misallocations they say will happen in

November.



                                     63
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 64 of 78




      Granted, the Secretary of State is required by state law to provide

voting equipment to the counties.         O.C.G.A. § 21-2-300(a).    But the

counties are responsible for allocating that equipment among their

precincts and for otherwise “equip[ping] polling places for use in

primaries and elections.” O.C.G.A. § 21-2-70(4). The state has also

“made additional equipment available to counties upon request and

demonstration of need.”        (Dkt. 110-5 ¶ 6; see Dkt. 159 at 59

(“[T]he counties come to the State and say here’s what we need, the State

provides it.”).)   And “[c]ounties additionally may procure their own

equipment to the extent they need more, which the State will acceptance

test and approve for use.” (Dkt. 110-5 ¶ 6.)

      In other words, the state provides counties with a “baseline” level

of equipment and then counties must determine what to do with that

equipment and whether to obtain more. (Dkt. 159 at 59 (“We provide the

baseline, and then if the counties want more, they can request and/or

purchase it.”); see Dkt. 171-1 ¶ 3 (the state initially provides counties with

a baseline level of equipment based on past election data and the number

of active voters in each county). Plaintiffs do not allege the state has

violated its general duty to provide equipment. (See Dkts. 110-5 ¶ 3; 171-



                                     64
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 65 of 78




1 ¶ 3.) So if a county does not have enough equipment in a certain

precinct, the county must address the issue, not the Secretary of State or

the State Election Board. Indeed, Plaintiffs conceded the Secretary of

State “doesn’t have the authority to command” counties to allocate their

voting equipment in a particular way — and, more generally, is not

“responsible for the errors and mistakes made at the county level.” (Dkt.

159 at 105–107.)28

     Plaintiffs point out that State Defendants have several significant

responsibilities for elections in Georgia.    And they are right.       For

example, the Secretary of State is Georgia’s “chief election official.”

O.C.G.A. § 21-2-50(b). And State Defendants must “formulate, adopt,

and promulgate . . . rules and regulations” to ensure uniformity and

fairness in Georgia’s elections. O.C.G.A. § 21-2-31(1)–(2); see also id.

§ 21-2-31(10) (requiring State Defendants to take such “action, consistent

with law, as [they] may determine to be conducive to the fair, legal, and




28Even Plaintiffs’ expert has concluded that, to the extent equipment
shortages might arise in November, the problem will almost always be
the misallocation of voting equipment within certain counties, not a
shortage in the overall quantity of equipment available for deployment.
How to allocate equipment within a county is a task that falls especially
squarely on the counties.

                                   65
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 66 of 78




orderly conduct of primaries and elections”). But, under binding caselaw,

these general powers are insufficient to establish traceability.        See

Jacobson, 2020 WL 5289377, at *12, 14 (“voters and organizations . . .

cannot rely on the Secretary’s general election authority to establish

traceability,” nor can they rely on his authority “to promulgate a rule” or

“issue directives”).   The Court rejects Plaintiffs’ contention that the

alleged injuries of which they complain are traceable to the Secretary of

State simply because the Georgia Code refers to him as the “state’s chief

election official.” (Dkt. 112 at 23.) Likewise, the Court rejects the notion

the alleged injuries are traceable to the State Election Board simply

because of its duty to ensure uniformity in the administration of election

laws. (Id. at 2.) No Georgia law allows State Defendants to reach down

into the county precincts and demand the relief Plaintiffs seek. (Dkt. 159

at 105–107.)

     Plaintiffs also rely on Grizzle v. Kemp, 634 F.3d 1314 (11th Cir.

2011), which held that Georgia’s Secretary of State was “a proper party

in [an] action for injunctive and declaratory relief pursuant to Ex Parte

Young.” 634 F.3d at 1316. But “Article III standing and the proper

defendant under Ex parte Young are separate issues.” Jacobson, 2020



                                    66
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 67 of 78




WL 5289377, at *13. So Grizzle does not “address[]—let alone resolve[]—

the standing issues in this suit.” Id.

      Plaintiffs have not shown their injury (even assuming it was

imminent) is traceable to the State Defendants. That means Plaintiffs

lack standing to sue the State Defendants here. Plaintiffs’ claims against

the State Defendants are thus dismissed for lack of subject matter

jurisdiction. See Calzone v. Hawley, 866 F.3d 866, 869 (8th Cir. 2017)

(“Article III standing to sue each defendant also requires a showing that

each defendant caused his injury and that an order of the court against

each defendant could redress the injury.” (emphasis added)); Mahon v.

Ticor Title Ins. Co., 683 F.3d 59, 65 (2d Cir. 2012) (rejecting the argument

that “plaintiff’s injury resulting from the conduct of one defendant should

have any bearing on her Article III standing to sue other defendants”);

Holland v. JPMorgan Chase Bank, N.A., 2019 WL 4054834, at *6

(S.D.N.Y. Aug. 28, 2019) (“A plaintiff proceeding against multiple

defendants must establish standing as to each defendant and each

claim.”).




                                    67
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 68 of 78




III. Plaintiffs’ Requested Injunctive Relief is Unavailable

     Even if Plaintiffs had standing here, the Court would deny their

motion for a preliminary injunction. “[A] preliminary injunction is an

extraordinary and drastic remedy not to be granted unless the movant

clearly establishe[s]” it is warranted. Siegel v. LePore, 234 F.3d 1163,

1176 (11th Cir. 2000); see Winter v. Nat. Res. Def. Council, Inc., 555 U.S.

7, 24 (2008) (“A preliminary injunction is an extraordinary remedy never

awarded as of right.”). Plaintiffs here have not shown they are entitled

to the relief they seek. On the contrary, their proposed injunction is

riddled with problems that make it inappropriate.29

     A.    The Court Cannot Outsource the Election to Plaintiffs’
           Expert

     Plaintiffs’ proposed injunction would order County Defendants to

use Dr. Yang’s M/M/c formula “to allocate voting machines, poll pads,

scanners, and technicians in a way reasonable calculated to minimize

wait times” at each voting location for the November 2020 Election.

(Dkt. 119-3 at 4.) More specifically, it would require Defendants to send



29 Plaintiffs also have not shown irreparable harm for the same reasons
that they fail to show imminent injury. See Alabama v. U.S. Army Corps
of Engineers, 424 F.3d 1117, 1133 (11th Cir. 2005) (“[P]reventing
irreparable harm in the future is the sine qua non of injunctive relief.”).

                                    68
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 69 of 78




data to Dr. Yang and then implement whatever allocation plan he

recommends based on that data (with the Secretary of State required to

foot the bill if more equipment is needed to comply with Dr. Yang’s plan).

(Id. at 4–6.) This request is truly extraordinary. And Plaintiffs cite no

authority permitting (much less requiring) the Court to grant it.

      The United States Constitution gives states the power to set the

“Times, Places and Manner of holding Elections for Senators and

Representatives.” U.S. Const. art. I, § 4, cl. 1. And that power “is

matched by state control over the election process for state offices.”

Clingman v. Beaver, 544 U.S. 581, 586 (2005).        These constitutional

powers are “broad.” See Duncan v. Poythress, 657 F.2d 691, 702 (5th Cir.

1981) (“[T]he constitution leaves to the states broad power to regulate the

conduct of federal and state elections.”). And courts have no business

interfering with them absent a compelling need to do so. See New Georgia

Project v. Raffensperger, 2020 WL 5877588, at *3 (11th Cir. Oct. 2, 2020)

(Grant, J.) (the Supreme Court’s “mantra” points “in one direction—

allowing the States to run their own elections”); id. at *5 (Lagoa, J.

concurring) (“[F]ederal courts must be chary of hearing challenges to a




                                    69
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 70 of 78




state’s duly enacted election procedures.”).30 When courts do interfere,

they must tread carefully and provide the minimum (and least

disruptive) relief necessary to redress the harm.

     Plaintiffs’ requested relief flies in the face of these principles. It

does not require the parties to collaboratively determine how Defendants

should allocate their resources for the upcoming election. Instead, it

outsources the job entirely to an academic in Minnesota and requires

Defendants to do whatever he says.

     Even Dr. Yang admits this is appropriate. He repeatedly testified

that he views his proposals as data points to be considered, not blindly

adopted, by election officials on the ground. (See, e.g., Dkt. 170-2 at 52–

53 (“So in terms of how to address it, it will be up to the election officials

how are you going to do it. I’m not trying to say you have to use my




30See also Coal. for Good Governance v. Raffensperger, 2020 WL 2509092,
at *4 (N.D. Ga. May 14, 2020) (courts cannot “micromanage the State’s
election process”); Georgia Shift, 2020 WL 864938, at *5 (“Plaintiffs invite
the Court to dictate how the Counties should properly administer their
elections. The law does not allow this type of federal judicial oversight
except when an election process reaches the point of patent and
fundamental unfairness.”).

                                     70
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 71 of 78




calculation.”).)31 That is so because there are several factors not captured

by his analysis that must also be considered when deciding how to run

an election. Those include the global pandemic and other “constraints”

on which Dr. Yang is not an expert. (Id. at 53–54.) Dr. Yang has never

even visited or seen pictures of Georgia’s voting locations. (Id. at 54.)

And he has never been appointed by a court to make election decisions

for a government. (Id. at 57.) He is simply not in a position to determine,

single-handedly, how Defendants should run their elections here.

     Plaintiffs’ counsel put it best when he said at oral argument:

“[W]e’ve offered experts that we’ve hired at our own expense to come up

with ideas. Maybe they’re good ideas, maybe they’re bad ideas. But

they’re ideas that ought to be considered.” (Dkt. 159 at 110.) Plaintiffs

may be right. Perhaps Dr. Yang’s ideas should be considered; indeed,

several County Defendants have now considered them. But that is not

what Plaintiffs request here.       They seek an injunction requiring

Defendants to adopt Dr. Yang’s ideas wholesale.        Plaintiffs have not

shown that relief is appropriate. The Court cannot strip state officials of


31(See also Dkt. 170-2 at 27 (“Usually, the local election officials should
know better about this.”), 28 (“I respect the counties election officials’
opinion and knowledge on their local places.”).)

                                    71
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 72 of 78




their constitutionally enshrined authority over elections and reassign

that authority to an academic instead (at least on the facts here). Cf.

Coal. for Good Governance, 2020 WL 2509092, at *4 (dismissing case

where “[t]he relief Plaintiffs seek bears little resemblance to the type of

relief plaintiffs typically seek in election cases aimed to redress state

wrongs”).

     B.     Plaintiffs’ Requested Relief is Too Vague

            1.   Rule 65’s Specificity Requirements

     Other elements of Plaintiffs’ requested relief are improper for a

different reason: they are too vague to enforce. Rule 65 of the Federal

Rules of Civil Procedure requires an injunction to “state its terms

specifically” and to “describe in reasonable detail . . . the act or acts

restrained or required.” Fed. R. Civ. P. 65(d)(1). These are “no mere

technical requirements.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974).

“The Rule was designed to prevent uncertainty and confusion on the part

of those faced with injunctive orders, and to avoid the possible founding

of a contempt citation on a decree too vague to be understood.” Id. “Since

an injunctive order prohibits conduct under threat of judicial




                                    72
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 73 of 78




punishment, basic fairness requires that those enjoined receive explicit

notice of precisely what conduct is outlawed.” Id.

     The injunction must be “very explicit” and “leave[] no uncertainty

in the minds of those to whom it is addressed, who must be able to

ascertain from the four corners of the order precisely what acts are

forbidden.” Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188,

1203 (11th Cir. 2001); 11A Charles Alan Wright & Arthur R. Miller, Fed.

Prac. & Proc. Civ. § 2955 (3d ed. Apr. 2020 Update).         That is, the

injunction “should be phrased in terms of objective actions” and “should

clearly let defendant know what he is ordered to do or not to do.”

Planetary Motion, 261 F.3d at 1203; see Hughey v. JMS Dev. Corp., 78

F.3d 1523, 1531 (11th Cir. 1996) (“[A]n ordinary person reading the

court’s order should be able to ascertain from the document itself exactly

what conduct is proscribed.”). If “the wording of the injunction could lend

itself to alternate interpretations,” it violates Rule 65’s specificity

requirements. Planetary Motion, 261 F.3d at 1205.

           2.    Discussion

     Plaintiffs seek an injunction requiring Defendants to (1) provide

“sufficient” secure ballot boxes, (2) ensure poll workers are “adequately”



                                    73
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 74 of 78




trained, (3) provide “sufficient” technicians, and (4) ensure voting

equipment is “adequately” tested within a “reasonable” time before each

voting location opens. Such an injunction would violate Rule 65.

      Georgia Shift makes that clear. The plaintiffs there sought an order

requiring defendants to (among other things) “provide enough polling

places,” to “provide enough functioning machines at polling places,” and

to “hire and train sufficient elections staff to prevent voters from having

to wait in unreasonably long lines.” 2020 WL 864938, at *2. The court

declined to issue the injunction because it “would be too amorphous to be

capable   of   enforcement,”   in     violation   of   Rule    65’s   specificity

requirements. 2020 WL 864938, at *5. The court said the requested

relief was so vague that it essentially told defendants to “obey the law.”

Id.

      Our case is similar on both the facts and the relief requested. As in

Georgia Shift, Plaintiffs here seek to compel Defendants to take election

administration    measures     that    are   “adequate,”      “sufficient,”   and

“reasonable.” But what counts as adequate, sufficient, and reasonable is

subject to “alternate interpretations,” meaning Defendants could easily

“misapprehend what conduct is proscribed.” Planetary Motion, 261 F.3d



                                      74
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 75 of 78




at 1205; see Payne v. Travenol Labs., Inc., 565 F.2d 895, 898 (5th Cir.

1978) (“The word ‘discriminating,’ like the word ‘monopolizing’ . . . , is too

general” to satisfy Rule 65); Brandner v. Abbott Labs., Inc., 2012 WL

27696, at *4 (E.D. La. Jan. 5, 2012) (finding that an injunction containing

the word “sufficient” violated Rule 65 because “the vagueness of the term

. . . places an unfair burden of interpretation on [defendant]”). This

precludes Plaintiffs’ requested relief.

     C.     Plaintiffs’ Remaining Relief is Unnecessary

     The final elements of Plaintiffs’ proposed injunction would order

(1) Defendants to provide sufficient emergency paper ballots and paper

pollbooks; (2) State Defendants to “enact a policy” requiring these paper

supplies to be used when lines at are least 30 minutes long;

(3) Defendants to “enact a policy” requiring poll workers to record wait

times every 30 minutes; and (4) the Secretary of State to provide one

technician for every ten polling locations. (See Dkt. 119-3.) Plaintiffs

have not shown any of these actions are necessary to avoid long lines in

November.

     Starting with the first item of requested relief, another court has

already ordered Defendants to provide sufficient emergency paper



                                     75
     Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 76 of 78




supplies to each voting location. Curling, 2020 WL 5757809, at *25.

So nothing is gained by issuing another injunction requiring the same

thing. (See Dkt. 159 at 113 (“[T]he backup emergency paper ballots and

the paper pollbooks have been addressed in the Curling decision.”).) As

for the remaining items, “an injunction is to be narrowly tailored to

remedy the specific action which gives rise to it.” Valley v. Rapides Par.

Sch. Bd., 646 F.2d 925, 942 (5th Cir. 1981); see Califano v. Yamasaki, 442

U.S. 682, 702 (1979) (“[T]he scope of injunctive relief is dictated by the

extent of the violation established.”).      Plaintiffs have not shown

Defendants will cause long lines by failing to do the remaining three

things they seek to compel. On the contrary, Georgia law already says

poll workers may use emergency paper supplies if lines exceed

30 minutes. Ga. State Election Board Rule 183-1-12-.11(2). And the

state is “increasing the number of Election Day technicians available,

aiming to have a contracted technician available for each polling place.”

(Dkt. 110-5 ¶ 5 (emphasis added).)      The counties also have secured

additional technicians of their own. Plaintiffs have not shown more is

required. See Califano, 442 U.S. at 702 (“[I]njunctive relief should be no




                                   76
      Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 77 of 78




more burdensome to the defendant than necessary to provide complete

relief to the plaintiffs.”).32

      The bottom line is that Plaintiffs lack standing because they have

not shown long lines are certainly impending in November. And, even if

Plaintiffs had standing, the Court cannot issue the injunction they seek

because it requests relief that is either inappropriate or unnecessary. For

these reasons, Defendants’ motions to dismiss are granted, Plaintiffs’

motion for a preliminary injunction is denied, and this case is dismissed

for lack of subject matter jurisdiction.

IV.   Conclusion

      The Court GRANTS County Defendants’ Motion to Dismiss

(Dkt. 105), GRANTS State Defendants’ Motion to Dismiss (Dkt. 106),

and DENIES Plaintiffs’ Motion for Preliminary Injunction (Dkt. 92). The

Court DISMISSES this action for lack of subject matter jurisdiction.




32 It is unclear whether the Court even could order State Defendants to
“enact a policy” requiring the actions Plaintiffs seek. See Jacobson, 2020
WL 5289377, at *14 (“it is doubtful that a federal court would have
authority to” issue “an injunction ordering the Secretary to promulgate a
rule” because “such relief would . . . raise[] serious federalism concerns”);
id. (“[T]he Ex parte Young exception to sovereign immunity is limited to
the precise situation in which a federal court commands a state official
to do nothing more than refrain from violating federal law.”).

                                     77
Case 1:20-cv-03263-MLB Document 174 Filed 10/13/20 Page 78 of 78




SO ORDERED this 13th day of October, 2020.




                              78
